                            EXHIBIT A




DOCS D$222084.1 83990/001
                         IN THF,UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

TINTRI,INC.,1                                                  Case No. 18-11625(KJC)

                                   Debtor.                 I   Related Docket No. 276



             ORDER AUTHORIZING THE DEBTOR TO REJECT CERTAIN
         EXECUTORY CONTRACTS NUNCPRO TUNC TO THE REJECTION DATE

                  Upon the FouNth Omnibus Motion fog Entry ofan Order AuthoNizing the Debtor

to Reject Certain ExecutoNy Contracts Nunc PNo Tunc to the Rejection Date (the "Motion");2 and

it appearing that the relief requested is in the best interests ofthe Debtor's estate, its creditors and

other parties in interest; and it appearing that this Court has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and it appearing that this matter is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and due and adequate notice of the Motion having been given under the

circumstances; and after due deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT

                          The Motion is granted as set forth herein.

                  Z.      Pursuant to section 365(a) of the Bankruptcy Code and Bankruptcy Rule

6006, the Debtor is authorized to reject the Rejected Contracts set forth on Exhibit A annexed

hereto. The rejection is effective nunc pNo tunc to November 13, 2018, the date the Motion was

filed.




~   The last four digits of the Debtor's federal taxpayer identification number are 6978. The Debtor's service
    address is: 75 State Street, 18th Floor, Suite 1805, Boston, MA 02109.

2   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


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                  3.   Within two business days after entry of this Order, the Debtor will serve

this Order on the counterparties to the Rejected Contracts.

                  4.   The counterparty must file a claim under section 502 of the Bankruptcy

Code or other claims in connection with such Rejected Contract or the rejection, breach or

termination of such Rejected Contract in accordance with any claims bar date set by the Court,

and the failure to file a timely claim shall forever prohibit the counterparty of the applicable

Rejected Contracts from receiving any distribution on account of such claims from the Debtor's

estate or otherwise.

                  5.   Notwithstanding the relief granted herein and any actions taken hereunder,

nothing in the Motion or this Order shall be deemed or construed to be: (i) an admission as to the

validity or priority of any claim against the Debtor; (ii) a waiver by the Debtor of any claims it

may have against any counterparties to any Rejected Contracts, whether or not such claims are

related to such Rejected Contracts; (iii) a waiver of the Debtor's right to assert that any Rejected

Contracts terminated prior to the Petition Date or the Rejection Effective Date; or (iv) a waiver

of the Debtor's right to assert that any of the Rejected Contracts do not constitute executory

contracts.

                  h.   Nc~~withstanding any provision in the Bankruptcy Rules to the contrary:

(i) this Order shall be effective immediately and enforceable upon its entry; (ii) the Debtor is not

subject to any stay in the implementation, enforcement or realization of the relief granted in this

Order; and (iii) the Debtor is authorized and empowered, and may in its discretion and without

further delay, take any action necessary or appropriate to implement this Order.

                  7.   The rejection of the Rejected Contracts authorized in this Order complies

with the requirements of Bankruptcy Rule 60060.




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                  8.   The Court shall retain jurisdiction over any and all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

Dated:                   , 2018


                                             I~ONORABLE KEVIN J. CAREY
                                             UNITED STATES BANKRUPTCY JUDGE




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                                           Rejected Contracts

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   ActualTech Marketing, LLC                         Marketing services
   198 Okatie Village, Ste 103-157
   Bluffton, SC 29909

   Aon Consulting                                    HR compensation services
   P.O. Box 100137
   Pasadena, CA 91189

   Atlas Private Security, Inc.                      Security services
   888 N. First Street #222
   San Jose, CA 95112

   B2BGateway,Net(Shannon Systems, LLC)              Integration software services
   P.O. Box 838
   Hope Valley, RI 02832

   Bay Alarm Company                                 Security services
   60 Berry Drive
   Pacheco, CA 94553-5601

   CDW LLC                                           Marketing and sales services
   P.O. Box 75723
   Chicago, IL 60675-5723

   Chrome Media Group LLC                            Marketing collateral printing and storage
   1716 Second Street
   Livermore, CA 94550

   Cisco Systems Capital Corporation                 Leasing of Cisco switches and other products
   170 W.Tasman Drive
   MS SJ13-3
   San Jose, CA 95134

   City of Mountain View                             Water and trash utility
   P.O. Box 743338
   Los Angeles, CA 90074-3338




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   Connext (fka High Tech Connect)           Marketing services
   500 Hopyard Rd., Suite 210
   Pleasanton, CA 94588

   Corodata Shredding, Inc.                  Confidential destruction services
   P.O. Box 846137
   Los Angeles, CA 90084-6137

   Elixiter, Inc.                            Marketing services
   113 East Oak Street
   Bozeman, MT 59715

   Expeditors International                  Freight
   425 Valley Drive
   Brisbane, CA 94005

   Expeditors Canada, Inc.                   Freight
   55 Standish Ct., 11th Floor
   Mississauga ON L5R 4A1
   CANADA

   FedEx                                     Freight
   P.O. Box 7221
   Pasadena, CA 91109-7321

   Fed Ex
   P.O. Box 371461
   Pittsburgh, PA 15250-7461

   Fed Ex Freight                            Freight
   Dept LA
   P.O. Box 21415
   Pasadena, CA 91185-1415

   First Choice Coffee Services              Canteen services
   3130 Alfred Street
   Santa Clara, CA 95054

   Fortitude International, LLC              Marketing services
   3120 Fairview Park Drive, Suite 520
   Falls Church, VA 22042

   Foster Brothers Security                  Security services
   555 So. Murphy Ave.
   Sunnyvale, CA 94086




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   _.____.~                                                                                  ___. ._
   Google LLC                             Advertising services
   1600 Amphitheatre Pkwy
   Mpuntain View, CA 94043

   Goog~e, Inc.
   Dept. 33654
   P.O. Box 39000
   San Francisco, CA 94139

   HMG Strategy, LLC                      Marketing and sponsorship services
   (Newtek Business Credit)
   P.O. Box 3611
   New Hyde Park, NY 11040

   Hula Networks, Inc.                    Network services
   1153 Tasman Drive
   Sunnyvale, CA 94085

   JAMF Holdings, Inc.                    Marketing and sponsorship services
   JAMF Software, LLC
   100 Washington Avenue, Suite 1100
   Minneapolis, MN 55401

   JetBrains Americas Inc.                Software services.
   989 East Hillside Blvd., Suite 200
   Foster City, CA 94404

   Jostle Corporation                     Software services
   310-163 West Hastings Street
   Vancouver, BC V6B 1H5
   CANADA

   Leadspace, Inc.                        Software services
   5901 W. Century Blvd., 9`h Floor
   Los Angeles, CA 90045-5421

   Madcap Software, Inc.                  Software services
   7777 Fay Avenue, Suite 210
   La Jolla, CA 92037

   MailFinance                            Leasing of postage meter
   a Neopost USA Company
   478 Wheelers Farms Rd.
   Milford, CT 06461




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   NCR Corporation                     Field support engineers
   14181 Collections Center Dr.
   Chicago, IL 60693

   New Relic, inc.                     Software services
   P.O. Box 101812
   Suite 1200
   Pasadena, CA 91189-1812

   NJGMIS TEC Foundation               Industry conference sponsorship
   P.O. Box 1056
   Leander, TX 78646

   NJGMIS TEC Foundation
   P.O. Box 6535
   Somerset, NJ 08875

   PagerDuty, Inc.                     Pager services
   548 Market Street #26994
   San Francisco, CA 94104

   PG&E                                Electricity and gas utility
   Box 997300
   Sacramento, CA 95899-7300

   Salesforce.com, Inc.                CRM software
   P.O. Box 203141
   Dallas, TX 75320

   Sanmina Corporation                 Storage appliance components
   PO Box 848413
   Dallas, TX 75284-8413

   SimpfyDirect                        Marketing services
   29 Hudson Road, Suite 2300
   Sudbury, MA 01776

   SolarWinds                          Software services
   7171 Southwest Parkway
   Building 400
   Austin, TX 78735

   Specialty's Cafe &Bakery            Food services
   5050 Hopyard Road
   Suite 250
   Pleasanton, CA 94588



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   The Office City                              Office supplies
   3167 Corporate Place
   Hayward, CA 94545

   Trump Card Holdings, LLC                     Freight
   23807 Aliso Creek Road
   Suite 200
   Laguna Nigel, CA 92677

   VMware User Group(VMUG)                      Software user group services
   P.O. Box 306046
   Nashville, TN 37230-6039

   West LLC                                     Investor relations call management
   11808 Miracle Hills Dr.
   Omaha, NE 68154

   West Unified Communications Services, Inc.   Conference call services
   8420 West Bryn Mawr, Suite 1100
   Chicago, IL 60631

   Wistia, Inc.                                 Marketing services
   17 Tudor Street
   Cambridge, MA 02139

   Wpromote, LLC                                Marketing services
   2100 E. Grand Avenue, Floor 1
   EI Segundo, CA 90245

   XTRM Inc.                                    Marketing services
   303 Twin Dolphin Drive, 6t" F►oor
   Redwood City, CA 94065

   Y3TI Corporation                             Marketing services
   3620 Mr. Diablo Bivd.
   Suite 202
   Lafayette, CA 94549

   Zuora, Inc.                                  RevPro software services
   3050 S. Delaware Street, Suite 301
   San Mateo, CA 94403




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